Case
Case 1:20-cv-11479-LTS
     1:20-cv-11479-LTS Document
                       Document 7-1
                                5-2 Filed
                                    Filed 08/12/20
                                          08/12/20 Page
                                                   Page 1
                                                        1 of
                                                          of 4
                                                             4




             EXHIBIT 1
                                    Case
                                    Case 1:20-cv-11479-LTS
                                         1:20-cv-11479-LTS Document
                                                           Document 7-1
                                                                    5-2 Filed
                                                                        Filed 08/12/20
                                                                              08/12/20 Page
                                                                                       Page 2
                                                                                            2 of
                                                                                              of 4
                                                                                                 4




From: Paul G. Boylan [mailto:pboylan@fmglaw.com]
Sent: Tuesday, July 7, 2020 3:59 PM
To: Jaren D Wilcoxson <jaren@mit.edu>
Subject: RE: Retraction... James Koppel

Thank you for your email .


You are incorrect to suggest I failed as to any professional courtesy. Sending you a copy of the complaint would have
involved assumptions or presumptions which I was not free to make.
Fortunately, those are now moot.

I welcome counsel for Mr. Moses. Until that person contacts me we will do nothing as to the default absent notice to
you. When counsel appears I expect we will voluntarily vacate it.
If counsel does not contact me in a week or so I will email you before taking any further steps.

Because you are involved the likelihood of any further proceedings on the default is extremely small. Once counsel
appears I hope and expect it will be zero.


With best wishes,


Paul

Paul G. Boylan
Freeman Mathis & Gary, LLP
60 State Street | Suite 600 | Boston, MA 02109-1800
D: 617.963.5972 | C: 857.366.1169
pboylan@fmglaw.com | www.fmglaw.com




A Corporate Counsel Magazine "Go-To Law Firm®" for litigation
CA | CT | FL | GA | KY | MA | NJ | NY | PA | RI
Please read this important notice and confidentiality statement

From: Jaren D Wilcoxson <jaren@mit.edu>
Sent: Tuesday, July 7, 2020 3:24 PM
To: Paul G. Boylan <pboylan@fmglaw.com>
Subject: [EXTERNAL] RE: Retraction... James Koppel

Dear Paul –

I was surprised to learn yesterday that your firm filed a lawsuit against William Moses on behalf of your client James Koppel and
then sought to have a default entered against him. It appears that you purport to have effected service on Mr. Moses by leaving
a copy of the summons and complaint at his dorm in May, even though MIT has effectively been shut down due to the pandemic
since the day of your email below. In fact, Mr. Moses learned about the lawsuit and the default upon receiving mail that the post
                                                                  1
office forwarded to hisCase
                                    Case 1:20-cv-11479-LTS Document 7-1 Filed 08/12/20 Page 3 of 4
                        home 1:20-cv-11479-LTS        Document
                             in Virginia where he has been          5-2heFiled
                                                           living since        08/12/20
                                                                         vacated           Page
                                                                                 his dorm on     3 of
                                                                                             March 13.4He has yet to receive a
copy of the summons and complaint.

Had you given me the professional courtesy of alerting me to the filing of the lawsuit, I assure you Mr. Moses would have
responded. While I am currently assisting Mr. Moses in finding counsel to enter an appearance on his behalf, given the
circumstances and to avoid unnecessary motion practice, I ask that you withdraw the default so that Mr. Moses can retain
counsel to represent him. I would also appreciate it if you could send to my attention a copy of the summons and the complaint.

Please advise as soon as possible as to your position on these issues.

Best regards,
Jay

Jaren D. Wilcoxson | Counsel | Office of the General Counsel
Massachusetts Institute of Technology
105 Broadway | NE36-6201 | Cambridge, MA 02142
617.253.7724 | jaren@mit.edu




This message and any attached documents contain information which may be confidential, subject to privilege, or exempt from disclosure under applicable
law. These materials are intended only for the use of the intended recipient. Delivery of this message to any person other than the intended recipient shall
not compromise or waive such confidentiality, privilege, or exemption from disclosure as to this communication.


From: Paul G. Boylan [mailto:pboylan@fmglaw.com]
Sent: Thursday, March 12, 2020 2:26 PM
To: Jaren D Wilcoxson <jaren@mit.edu>
Subject: RE: Retraction... James Koppel

Thank you for the separate e-mailing.

Paul G. Boylan
Freeman Mathis & Gary, LLP
60 State Street | Suite 600 | Boston, MA 02109-1800
D: 617.963.5972 | C: 857.366.1169
pboylan@fmglaw.com | www.fmglaw.com




A Corporate Counsel Magazine "Go-To Law Firm®" for litigation
CA | CT | FL | GA | KY | MA | NJ | NY | PA | RI
Please read this important notice and confidentiality statement

From: Jaren D Wilcoxson <jaren@mit.edu>
Sent: Thursday, March 12, 2020 2:23 PM
To: Paul G. Boylan <pboylan@fmglaw.com>
Subject: RE: Retraction... James Koppel

Paul –

I can’t agree with your characterization below of the situation, but nonetheless the email has been resent as a standalone email.

Best,
Jay

Jaren D. Wilcoxson | Counsel | Office of the General Counsel
Massachusetts Institute of Technology
                                                                              2
                     Case
                     Case|1:20-cv-11479-LTS
105 Broadway | NE36-6201   1:20-cv-11479-LTS   Document 7-1 Filed 08/12/20 Page 4 of 4
                           Cambridge, MA 02142 Document 5-2 Filed 08/12/20 Page 4 of 4
617.253.7724 | jaren@mit.edu




This message and any attached documents contain information which may be confidential, subject to privilege, or exempt from disclosure under applicable
law. These materials are intended only for the use of the intended recipient. Delivery of this message to any person other than the intended recipient shall
not compromise or waive such confidentiality, privilege, or exemption from disclosure as to this communication.


From: Paul G. Boylan [mailto:pboylan@fmglaw.com]
Sent: Thursday, March 12, 2020 2:03 PM
To: Jaren D Wilcoxson <jaren@mit.edu>
Subject: Retraction... James Koppel

The retraction sent today unfortunately included the original defamatory communication.

I request the retraction be sent again immediately without inclusion of the defamatory March 2 publication.

The communication today constituted an inexcusable and yet once more excessive publication the March 2 defamation.

You and I did not discuss inclusion of the original defamation. I would certainly have objected. The damage is repeated and
possibly made worse by the error today.

Kindly confirm that you represent these individuals. If you do not represent them I will feel free to make clear the points here.


Paul G. Boylan
Freeman Mathis & Gary, LLP
60 State Street | Suite 600 | Boston, MA 02109-1800
D: 617.963.5972 | C: 857.366.1169
pboylan@fmglaw.com | www.fmglaw.com




A Corporate Counsel Magazine "Go-To Law Firm®" for litigation
CA | CT | FL | GA | KY | MA | NJ | NY | PA | RI
Please read this important notice and confidentiality statement




                                                                              3
